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1700 G Street NW, Washington, D.C. 20552

January 26, 2024

Hon. Michael J. Roemer
United States Magistrate Judge
Robert H. Jackson United States Courthouse
2 Niagara Square
Buffalo, NY 14292


Re: CFPB et al. v. StratFS LLC et al., No. 24-cv-40

Dear Judge Roemer:

Plaintiffs the Consumer Financial Protection Bureau (CFPB) and People of the State of New
York, by Letitia James, Attorney General of the State of New York, write to oppose the
Defendants’ and Intervenors’ request to permit the expansive discovery already denied by this
Court. Further, Plaintiffs have already either already identified individuals in the complaint, as
requested by Defendants, or consented to identify such individuals as soon as a protective order
is entered in this matter. Plaintiffs have submitted a proposed protective order to Defendants
and hope to have it agreed to today.

   1. Plaintiffs have identified or agreed to identify individuals in the complaint.

Addressing Defendants’ second issue first, Defendants claim that they asked Plaintiffs for the
identity of individuals who were “unidentified” or “identified only by their initials.” The first
request was as to people quoted in the complaint from the transcript of a phone call. The full
transcript was already provided to Defendants in Exhibit 26 to the TRO motion, and Plaintiffs
directed Defendants to those transcripts. See email correspondence attached as Attachment A.
The second category is consumer declarants who were identified by their initials. Defendants
served discovery requests for “unredacted versions of all consumer declarations.” See Expedited
Discovery Requests from Ryan Sasson to Plaintiffs attached as Attachment B. Plaintiffs agreed
to provide the unredacted consumer declarations as soon as the parties agreed to a protective
order. See Attachment A. Plaintiffs sent a draft protective order to Defendants yesterday but
have not received a response. We hope to have an agreed upon protective order today and will
send the unredacted consumer declarations immediately after it is signed. Defendants’
suggestion that Plaintiffs have “refused” their request is flatly untrue. See Attachment A. Thus,
the Court should deny Defendants’ and Intervenors’ requests.

   2. Defendants and Intervenors already have access to the requested information.




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At the January 24, 2024 status hearing the Court expressly denied the Defendants motion to
propound broad discovery on the Plaintiffs. Specifically, at the end of the hearing, Defendants
raised the issue of obtaining discovery into Plaintiffs’ CID responses, which the Court denied.
Despite this ruling, Defendants served new discovery requests on Plaintiffs seeking the same
subject matter that the Court denied on January 24. Attachment B. Plaintiffs refused to comply
based on the Court’s order.

Defendants now apparently concede that the discovery they served was contrary to what the
Court ordered and ask the Court to reconsider its January 24, 2024 ruling. There is no basis to
do so. In their letter motion, Defendants seek discovery about CIDs issued to four of the
Intervenors: Rockwell, Whitestone, Bedrock and Harbor. But these firms have moved to
intervene and already have access to the CIDs in question and the responses
provided. Intervenors already know the identities of the notaries they provided to the CFPB.
And requiring the CFPB to turn over its internal investigative information based on the CID
response is improper. Such material is privileged or subject to work product protection.
Defendants do not need the Bureau’s privileged material in order to determine what
information, if any, the notaries provided to the CFPB. Intervenors know who the notaries are
and indeed even acknowledge in their letter motion that they have spoken to the same notaries.
The information is otherwise available to Defendants, and they must pursue that avenue of
obtaining it. Thus, the Court should deny Defendants’ and Intervenors’ request.


Respectfully,
/s/
Joseph Sanders
Vanessa Buchko
Monika Moore
Consumer Financial Protection Bureau

Christopher L. Boyd
State of New York



Attachments




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Attachment A
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their names and addresses so that we can serve them with subpoenas for
their depositions.

 Obviously, we are under extreme time constraints. We therefore would
appreciate your prompt reply.

                                         Best, Terry



                          Terrence M. Connors                  Partner
                          tmc@connorsllp.com
                          Connors LLP
                          1000 Liberty Building
                          Buffalo NY 14202
                          T. 716-852-5533
                          F. 716-852-5649
                          www.connorsllp.com
Note: This e-mail may contain privileged or confidential information.




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Sanders, Joseph (CFPB)

From:                              Boyd, Christopher <Christopher.Boyd@ag.ny.gov>
Sent:                              Thursday, January 25, 2024 2:09 PM
To:                                Maegan McAdam; Rodney Perry; Ronald Safer; Matthew Kennison
Cc:                                Chiu, Shirley (CFPB); Bernard, Richard J.; amd@connorsllp.com; Rados, Genevieve;
                                   dvacco@lippes.com; sallen@lippes.com; tmc@connorsllp.com; Kevin.Burns@coag.gov;
                                   Marion.Quirk@delaware.gov; Kevin.Levitsky@delaware.gov; LWEAVER@ncdoj.gov;
                                   Amanda.Bacoyanis@ilag.gov; matthew.davies@ilag.gov; Evan Romanoff;
                                   beilinlw@doj.state.wi.us; tmcnamara@mcnamarallp.com;
                                   tmcnamara@mcnamarallp.com; Imani, Roya; Pearl, Richard J.; Joseph, Andrew B; Moore,
                                   Monika (CFPB); Buchko, Vanessa (CFPB); Sanders, Joseph (CFPB)
Subject:                           RE: R. Sasson Expedited Discovery to Plaintiffs


Hi Maegan,

At the conference on January 24, 2024, the Court authorized “defendants' discovery requests regarding payment
processors and the subpoenaing of notaries.” This was specifically referring to the subpoenas already served on the
payment processors for documents and testimony, and the subpoenas to notaries. The Court did not authorize
defendants to take any other discovery.

The Court specifically denied Defendants’ request to take broad discovery of Plaintiffs. Indeed, at the end of the
conference Mr. Safer specifically asked the Court for permission to serve discovery requests on Plaintiffs for CID
responses, including regarding payment processors. The Court expressly denied that request.

You are now purporting to serve discovery requests on Plaintiffs for “any CID or subpoena issued by any of the Plaintiffs
in this case concerning any third-party notaries or third-party payment processors.” Given the Court’s ruling on this
issue, these requests are meritless and approaching the level of being vexatious and harassing.

Given the Court’s ruling, we do not intend to respond to these requests. However, we have no objection to providing
unredacted copies of consumer declarations as soon as the parties have executed a protective order (or the court enters
such an order if agreement cannot be reached).

Regards,

Christopher L. Boyd | Deputy Assistant Attorney General in Charge
New York State Office of the Attorney General
Buffalo Regional Office
Main Place Tower |350 Main Street, Suite 300A
Buffalo, New York 14202
Tel: (716) 853-8457 | Fax: (716) 853-8428




From: Maegan McAdam <mmcadam@rshc-law.com>
Sent: Thursday, January 25, 2024 12:20 PM
To: Chiu, Shirley (CFPB) <Shirley.Chiu@cfpb.gov>; Bernard, Richard J. <richard.bernard@faegredrinker.com>;
amd@connorsllp.com; Boyd, Christopher <Christopher.Boyd@ag.ny.gov>; Rados, Genevieve
<Genevieve.Rados@ag.ny.gov>; dvacco@lippes.com; sallen@lippes.com; tmc@connorsllp.com; Kevin.Burns@coag.gov;
Marion.Quirk@delaware.gov; Kevin.Levitsky@delaware.gov; LWEAVER@ncdoj.gov; Amanda.Bacoyanis@ilag.gov;
matthew.davies@ilag.gov; Evan Romanoff <Evan.Romanoff@ag.state.mn.us>; beilinlw@doj.state.wi.us;
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Best,

Maegan McAdam (bio)
Riley Safer Holmes & Cancila LLP
136 Madison Avenue, 6th Floor
New York, NY 10016
(212) 660-1025
mmcadam@rshc-law.com
www.rshc-law.com




From: Matthew Kennison <MKennison@rshc-law.com>
Sent: Tuesday, January 23, 2024 7:47 PM
To: Chiu, Shirley (CFPB) <Shirley.Chiu@cfpb.gov>; Bernard, Richard J. <richard.bernard@faegredrinker.com>;
amd@connorsllp.com; Christopher.Boyd@ag.ny.gov; Genevieve.Rados@ag.ny.gov; dvacco@lippes.com;
sallen@lippes.com; tmc@connorsllp.com; Kevin.Burns@coag.gov; Marion.Quirk@delaware.gov;
Kevin.Levitsky@delaware.gov; LWEAVER@ncdoj.gov; Amanda.Bacoyanis@ilag.gov; matthew.davies@ilag.gov;
Evan.Romanoff@ag.state.mn.us; beilinlw@doj.state.wi.us; tmcnamara@mcnamarallp.com;
tmcnamara@mcnamarallp.com; Imani, Roya <roya.imani@faegredrinker.com>; Pearl, Richard J.
<rick.pearl@faegredrinker.com>; Joseph, Andrew B <andrew.joseph@faegredrinker.com>; Moore, Monika (CFPB)
<Monika.Moore@cfpb.gov>; Buchko, Vanessa (CFPB) <Vanessa.Buchko@cfpb.gov>; Sanders, Joseph (CFPB)
<Joseph.Sanders@cfpb.gov>
Cc: Rodney Perry <RPerry@rshc-law.com>; Ronald Safer <rsafer@rshc-law.com>; Maegan McAdam <mmcadam@rshc-
law.com>
Subject: Notices of Deposition and Subpoenas -

Counsel,

Please find attached Notices of Deposition and Subpoenas to be served on
        .

Regards,

Matthew Kennison
Riley Safer Holmes & Cancila LLP
121 W. Washington St., Suite 402
Ann Arbor, MI 48104
(734) 773-4911
mkennison@rshc-law.com
www.rshc-law.com
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also indicate the sender's name. Thank you.




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Attachment B
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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF NEW YORK

CONSUMER        FINANCIAL       PROTECTION)
BUREAU, et al.,                           )
                                          )
                  Plaintiffs,             )               CASE NO. 24-CV-40-EAW-MJR
                                          )
     v.                                   )
                                          )
STRATFS, LLC (f/k/a STRATEGIC FINANCIAL)
SOLUTIONS, LLC), et al.                   )
                                          )
                  Defendants, and         )
                                          )
DANIEL BLUMKIN, et al.                    )
                                          )
                  Relief Defendants.      )



DEFENDANT RYAN SASSON’S EXPEDITED REQUEST FOR THE PRODUCTION OF
       DOCUMENTS AND INTERROGATORIES TO ALL PLAINTIFFS

        Pursuant to Rules 33 and 34 of the Federal Rules of Civil Procedure and Local Civil Rule

26(a), the Court’s January 24, 2024 Order (ECF No. 68), and the terms of the Temporary

Restraining Order entered in this case on January 11, 2024 (ECF No. 12), Individual Defendant

Ryan Sasson (“Sasson”) requests that Plaintiffs Consumer Financial Protection Bureau and People

of the State of New York (collectively, “Plaintiffs”) produce and permit Sasson to inspect and

copy all of the documents and things in Plaintiffs’ possession, custody, or control identified in the

following requests for production of documents (the “Requests”). The requested documents shall

be produced to Riley Safer Holmes & Cancila, LLP, 136 Madison Avenue, 6th Floor, New York,

NY 10016, within five (5) calendar days of service of these Requests.

                                         DEFINITIONS

        1.     The “Complaint” means the Complaint filed in this action on or about January 10,

2024.
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       2.        “Including” means “including without limitation.”

       3.        “Any” means any and all.

       4.        “TRO” shall mean the Ex Parte Temporary Restraining Order with an Asset

Freeze, Appointment of a Receiver, and Other Equitable Relief. ECF No. 12.

       5.        “Defendants” shall include those defined in paragraphs D, K, N, and O of the

Definitions section of the TRO.

       6.        “Affiliates” shall include any of the law firms identified in paragraph 6 of the

January 9, 2024 Declaration of Theresa Ridder.

       7.        “RAM” means the payment processing company referenced in paragraph 73 of

the Complaint.

       8.        “CID” means Civil Investigative Demand.

       9.        “Consumer” shall have the same definition as that contained paragraph C of the

Definitions section of the TRO.



                                          INSTRUCTIONS

       1.        In producing documents the following specifications should be used:

                 a. Documents should be produced in searchable PDF and/or native format, with

                    all available metadata.

                 b. Documents may be delivered via FTP to the undersigned.

                 c. Each media volume should be produced with its original bates numbering, if

                    present. Otherwise, each should have its own unique name and a consistent

                    naming convention (e.g., CFPB_000001).




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        2.      Unless otherwise specified in a particular Request below, the time period called

for by each of these Requests shall be January 1, 2016 to the present

                                     INTERROGATORIES

        1.      Identify the names, addresses, phone numbers, and email addresses of all

consumers you communicated with, interviewed, or deposed regarding Sasson, the Defendants, or

their Affiliates.

                                   DOCUMENT REQUESTS

        1.      Produce all consumer complaints in your possession, custody, or control regarding

any of the Defendants or their Affiliates. For the avoidance of all doubt, these consumer complaints

include, but are not limited to, those referenced in paragraphs ¶¶103-104, 121 of the Complaint,

as well as those described in ¶73 of the Declaration of Patrick Callahan.

        2.      Reproduce all documents obtained or produced in response to any CID or subpoena

issued by any of the Plaintiffs in this case concerning any third-party notaries or third-party

payment processors. For the avoidance of all doubt, the reproduction of documents responsive to

this Request shall include the following:

             a. Documents consisting of bates numbers SUNSHINE-CID-000001 to SUNSHINE-

                CID-001325, identified in the Declaration of Evan Romanoff, ¶7 as documents

                produced by third-party notary company Sunshine Signing Connection, Inc.;

             b. Documents consisting of bates numbers NPN0000001 to NPN0000910, identified

                in the Declaration of Evan Romanoff, ¶9 as documents produced by National

                Paralegal & Notary (NPN);

             c. The “Ram Data” described as written reports that RAM produced in response to

                the CFPB’s Civil Investigative Demands (CIDs) dates July 25, 2019 and November



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               13, 2019, as well as the March 23, 2021 letter request, as identified in the

               Declaration of Joanna Cohen, ¶4;

            d. Documents consisting of bates numbers GCS_000001—GCS_001201, identified

               in the Declaration of M. Lynne Weaver, ¶5 as documents produced by Global Client

               Solutions, LLC;

            e. Documents produced by Global Holdings, LLC, as identified in the January 8, 2024

               Declaration of Wendy L. Phifer, ¶¶4-5;

            f. Documents produced by Global Client Solutions, LLC consisting of bates numbers

               Global_WI_000001 through Global_WI_008490, as identified in the January 2,

               2024 Declaration of Wendy L. Phifer, ¶5.

       3.      Produce unredacted versions of all consumer declarations;

       4.      To the extent not already covered by one or more of the foregoing Requests, and if

such documents pertain to any third-party processor, produce all documents referenced in

paragraph 74 of the Declaration of Theresa Ridder.

Dated: January 25, 2024                              /s/ Ronald S. Safer
                                                     Ronald S. Safer (pro hac vice)
                                                     Rodney Perry (pro hac vice)
                                                     Matthew Kennison (pro hac vice)
                                                     Maegan McAdam
                                                     RILEY SAFER HOLMES & CANCILA LLP
                                                     70 W. Madison Street, Suite 2900
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                                                     Attorneys for Individual Defendant Ryan
                                                     Sasson and Relief Defendants Daniel
                                                     Blumkin and Ian Behar


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